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 7   Attorneys for Plaintiff
 8                        IN THE UNITED STATES DISTRICT COURT
 9                             FOR THE DISTRICT OF ARIZONA
10
     United States of America,                      CR- 25-00541-PHX-DJH(DMF)
11
                           Plaintiff,
12
              vs.
13                                                    UNITED STATES’ RESPONSE TO
     Adam Weinstein,                                    DEFENDANT’S MOTION TO
14
                                                     CONTINUE TRIAL AND DEADLINE
15   Gerald Dixon,                                       FOR MOTIONS [Doc. 38]
16
                           Defendants.
17
18                                           Argument
19          The United States does not object to the defendant’s motion to continue the trial
20   date. Indeed, undersigned counsel advised defense counsel of the same. (See Ex. A) This
21   case involves straightforward allegations involving a single count of wire fraud, seventeen
22   counts of transactional money laundering sourced from the funds that are the subject of the
23   wire fraud count, and does not necessarily present any complex or novel legal or factual
24   issues. (Doc. 1; Indictment) The case can proceed to trial within eight months, therefore an
25   eight-month continuance, upon the first motion to continue is unwarranted.
26          Furthermore, the United States is ready and able to provide defendant with Fed. R.
27   Crim.P. 16 discovery upon written request as required. The United States also is aware of
28   its obligations under Brady v. Maryland 373 U.S. 83 (1963), and its progeny, and will
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 1   provide defendant with Brady material in a timely fashion if any exists. Lastly, the co-
 2   defendant has noticed a new attorney and he has not provided a position regarding a
 3   continuance.
 4          Given these circumstances, the United States respectfully requests that this Court
 5   deny the motion for an extended continuance and set the trial for ninety days. This will
 6   allow the parties to review discovery and propose a more realistic trial date. Scheduling
 7   the trial at an earlier date will serve the interests of justice, ensure a timely resolution of
 8   the case as the victim has a right conferred by statute to “proceedings free from
 9   unreasonable delay.” 18 U.S.C. § 3771(a)(7) (“Crime Victims’ Rights Act” or “CVRA”).
10          Respectfully submitted this the 15th day of May, 2025.
11                                                       TIMOTHY COURCHAINE
                                                         United States Attorney
12                                                       District of Arizona
13                                                       s/ Kevin M. Rapp_____________
                                                         KEVIN M. RAPP
14                                                       Assistant U.S. Attorney
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 1                               CERTIFICATE OF SERVICE
 2
 3         I hereby certify that on May 15, 2025, I electronically transmitted the attached
 4   Notice of Expert Witness to the Clerk's Office using the CM/ECF System for filing and
 5   transmittal of a Notice of Electronic Filing to the following CM/ECF registrants:
 6
     s/D. Parke
 7   U.S. Attorney’s Office
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